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AO 91 (Rev. 08/09) Criminal Complaint

UNITED STATES DISTRICT COURT FEL ED
for the JUL 22024

Northern District of Oklahoma

Heidi D. Campbell, Clerk
U.S. DISTRICT COURT

United States of America )
v. )
) Case No ste] “f- 5 - SRS
)
. . )
Patrick Nile Starkey )
Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of June 8, 2024, June 12, 2024, and July 2, 2024 in the county of Osage in the

Northern District of Oklahoma, the defendant(s) violated:

Code Section Offense Description
26 U.S.C. § 5861(d) Receive or Possess National Firearms Act Firearm not Registered in National
Firearms Registration and Transfer Record
18 U.S.C. § 844(h)(1) Using Fire or Explosive to Commit a Federal Felony
18 U.S.C. §1705 Destruction of Letter Boxes or Mail
18 U.S.C. § 922(g)(1) Possession of a Firearm/Ammunition by Convicted Felon

This criminal complaint is based on these facts:
See Attached Affidavit

@ Continued on the attached sheet. J27 Oe

Complainant's signature

_ Special Agent Ben Nechiporenko, ATF

Printed name and title

Sworn to before me by phone.

Date: ala[24 jan Nanes

V Judge 's signature

City and state: - Tulsa,OK - Jodi F. Jayne, United States Magistrate Judge |

Printed name and title
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Affidavit in Support of an Arrest Warrant
in the Northern District of Oklahoma

I, Ben Nechiporenko, a Special Agent with the Bureau of Alcohol, Tobacco,
Firearms and Explosives, being duly sworn under oath, do hereby depose and state:

INTRODUCTION AND AGENT BACKGROUND

1. Ihave been employed as a Special Agent in Tulsa, Oklahoma since 2022. I
am currently assigned to the Dallas Field Division, Tulsa Field Office with the
Bureau of Alcohol, Tobacco, Firearms, and Explosives (ATF). My duties with
ATF include, but are not limited to, the investigation and enforcement of illegal
use, possession, and trafficking of firearms, criminal organizations and gangs, arson,
and illegal use and possession of explosives.

2. Prior to my tenure as an ATF Special Agent, I was a sworn law enforcement
officer employed with the West Fargo Police Department in North Dakota from
October 2012 to January 2022. During my employment with the West Fargo Police
Department, my primary assignments included: Patrol Officer with the Patrol
Division, Detective for the Metro Street Crimes Unit with the Special Investigations
Division, Task Force Officer and Team Leader with the U.S. Marshals Service
Fugitive Task Force, and Patrol Sergeant with the Patrol Division. My training
included over 1,250 hours of Police Officer Standards & Training (POST) approved
training hours with an emphasis in gangs and narcotics enforcement. I served nine

years with the Army National Guard as a Combat Engineer and received an
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Honorable Discharge at the rank of Sergeant. I received a Bachelor of Science Degree
in Criminal Justice from North Dakota State University in 2011.

3. As part of my duties as an ATF Special Agent, I investigate criminal
violations in the Northern District of Oklahoma and am thus familiar with the same.
I know that the following are violations of federal law:

a. Title 26 U.S.C. §§ 5861(d) — Receive/Possess National Firearms Act
Firearm Not Registered in National Firearms Registration and Transfer
Record — is violated when an individual receives or possesses a firearm
which is not registered to him in the National Firearms Registration
and Transfer Record. The term "firearm" includes a destructive device.
The term "destructive device" means (1) any explosive, incendiary, or
poison gas (A) bomb, (B) grenade, (C) rocket having a propellent
charge of more than four ounces, (D) missile having an explosive or
incendiary charge of more than one-quarter ounce, (E) mine, or (F)
similar device; (2) any type of weapon by whatever name known which
will, or which may be readily converted to, expel a projectile by the
action of an explosive or other propellant, the barrel or barrels of which
have a bore of more than one-half inch in diameter, except a shotgun or
shotgun shell which the Secretary finds is generally recognized as
particularly suitable for sporting purposes; and (3) any combination of
parts either designed or intended for use in converting any device into a
destructive device as defined in subparagraphs (1) and (2) and from
which a destructive device may be readily assembled. The term
"destructive device" shall not include any device which is neither
designed nor redesigned for use as a weapon; any device, although
originally designed for use as a weapon, which is redesigned for use as a
signaling, pyrotechnic, line throwing, safety, or similar device; surplus
ordnance sold, loaned, or given by the Secretary of the Army pursuant
to the provisions of section 7684(2), 7685, or 7686 of title 10, United
States Code; or any other device which the Secretary finds is not likely
to be used as a weapon, or is an antique or is a rifle which the owner
intends to use solely for sporting purposes. Title 18 U.S.C. § 5845(f).

b. Title 18 U.S.C. §§ 844(h)(1) - Using Fire or Explosive to Commit a
Federal Felony — is violated when an individual uses fire or an
explosive to commit any felony which may be prosecuted in a court of
the United States. The term “explosive” means gunpowders, powders
used for blasting, all forms of high explosives, blasting materials, fuzes

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(other than electric circuit breakers), detonators, and other detonating
agents, smokeless powders, other explosive or incendiary devices within
the meaning of paragraph (5) of section 232 of this title , and any
chemical compounds, mechanical mixture, or device that contains any
oxidizing and combustible units, or other ingredients, in such
proportions, quantities, or packing that ignition by fire, by friction, by
concussion, by percussion, or by detonation of the compound, mixture,
or device or any part thereof may cause an explosion. 18 U.S.C. §
844(j).

c. Title 18 U.S.C. §§ 1705 — Destruction of Letter Boxes or Mail — is
violated when an individual willfully or maliciously injures, tears down
or destroys any letter box or other receptacle intended or used for the
receipt or delivery of mail on any mail route or breaks open the same or
willfully or maliciously injures, defaces, or destroys any mail deposited
therein.

d. Title 18 U.S.C. §§ 922(g)(1) — Possession of a Firearm or Ammunition
by Convicted Felon — is violated when am individual who has been
convicted in any court of, a crime punishable by imprisonment for a
term exceeding one year to ships or transports in foreign commerce, or
possesses in or affecting commerce, any firearm or ammunition; or if he
receives any firearm or ammunition which has been shipped or
transported in interstate or foreign commerce.

4. The facts and statements in this Affidavit are based in part on information
provided by other law enforcement officers and in part on my personal observations
and training and experience as a Special Agent with ATF. This Affidavit is for the
limited purpose of establishing probable cause to support a Criminal Complaint, it
contains only a summary of relevant facts. I have not included each and every fact
known to me concerning the entities, individuals, and the events described in this

Affidavit. The statements made in this Affidavit are based in part on: (a) my personal

participation in this investigation; (b) information provided to me by other law
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enforcement officers; and (c) the training and experience of myself and other law
enforcement agents and officers.

5. Based upon the below, there is probable cause to believe that, between June 9,
2024 to July 2, 2024, Patrick Nile STARKEY (DOB XX-XX-1967; SSN XXX-XX-
1373) AKA “Rat Tat Tat Pat”, AKA “GR8NBED”, and AKA “Cockhound”
violated Title 26 U.S.C. §§ 5861(d) — Receive/Possess National Firearms Act
Firearm Not Registered in National Firearms Registration and Transfer Record,
Title 18 U.S.C. §§ 844(h)(1) - Using Fire or Explosive to Commit a Federal Felony,
Title 18 U.S.C. §§ 1705 — Destruction of Letter Boxes or Mail, and Title 18 U.S.C. §§
922(g)(1) — Possession of a Firearm/Ammunition by Convicted Felon in the
Northern District of Oklahoma. The crimes occurred in Tulsa County, Oklahoma

and Osage County, Oklahoma, which are within the Northern District of Oklahoma.

PROBABLE CAUSE

6. On June 12, 2024, at approximately 10:19pm, I received a phone call wherein
I learned that the Osage County Sheriff's Office was investigating a device which
exploded in a United States Postal Service mailbox. Resident Agent in Charge
(RAC) Thomas Keen and I responded to the address, 6711 North 41st West Avenue,
Tulsa, Oklahoma.

7. According to Osage County Sheriff's Office report #2024-0557, the owner of

the residence, B.A. stated that on June 8, 2024, around 12:30am, a vehicle pulled
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into his driveway, and a few minutes later, B.A. heard an explosion. The following
morning, B.A. found an exploded device in the driveway.

8. B.A. stated that on June 12, 2024, at approximately 8:47pm, his sister-in-law
and neighbor, C.A., called and said she heard an explosion and saw smoke coming
out of the mailbox. C.A.’s husband, P.A., heard a loud explosion and observed a
small silver passenger car leaving the area.

9. On June 12, 2024, at approximately 11:16pm, RAC Keen and IJ arrived and
spoke with Osage County SO Deputies, including Deputy Korey Pettigrew and
Chief Deputy Kevin Young. The homeowner, B.A., and neighbor, P.A., were also
on scene. I photographed the scene and collected evidence. Debris from an explosive
device was located inside the damaged USPS mailbox. Items seized as evidence
included a metal pipe with threaded ends, approximately 4” in length, a metal end
cap, and a cardboard piece. The device B.A. found on June 8, 2024, was still on the
ground and collected. Both the interior of the mailbox and several articles of mail

were damaged in the explosion.

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10. An initial review of the post-blast debris recovered from the scene suggests that
an easy-to assemble improvised explosive device was used, and that it was built out
of components I know, based upon my training and experience, to be typically found
in a residence or garage. These include small quantities of metal and PVC pipe, a
standard flammable fuse, and flammable power generated by smokeless or black
powder.

11.On June 13, 2024, I received a call from B.A. who stated that somebody had
thrown numerous notes on the ground near his mailbox. RAC Keen and I responded
to the scene, and the notes were photographed and collected. All the notes appeared

to have similar messages referring to S.P.
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12.On June 17, 2024, Special Agent Elaina Estrada located a Facebook account

under S.P.’s name; however, it appeared it was likely fictitious and possibly created
by somebody who disliked S.P. Her ex-husband was identified as Patrick Nile
STARKEY (DOB: 07/14/1967; SSN: XXX-XX-XXXX; FBI # 418151EA9). A Facebook
account (Account #100064985949618) was found under STARKEY’s name which
displayed messages similar in content to the notes located on June 14, 2024. S/A
Estrada submitted a preservation request to Meta. When searched in Apple Maps,
6591 N. 40th West Ave, Tulsa, Oklahoma shows the location of the explosion
incident. B.A. stated due to recent 911 addressing changes, the actual residential

address typically does not produce correct results in Apple Maps.

Patrick Starkey is «# feeling determined in Skiatook, OK.
June 13 at 1:42PM -@

It's noi like Shelly Pearce, ALL THIS IS TRUE.
Everyone INCLUDING HIV, hep C Shelly Dawn Pearce, 918-852-8644 @ 6591 N. 40th West Ave.
Tulsa Oklahoma 74126,
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13.B.A. and his family advised that they do not know S.P. and have not
interacted with her. Based upon STARKEY ’s Facebook posts and the notes
recovered at the scene, it appeared that, in an effort to target S.P., STARKEY
erroneously targeted B.A.’s mailbox based upon the information obtained from
Apple Maps.

14.I queried STARKEY in Accurint, an open-source database, for information
including possible vehicles. The results included a gray 2002 Honda Civic
(OK/ETY237; VIN: IHGES15552L026865).

15. I searched the Flock Safety license plate reader database for the 2002 Honda
Civic (OK/ETY237). The search produced numerous results including a hit on June
12, 2024, at 8:35pm near 5495 North 52nd West Avenue, Tulsa, Oklahoma.
According to Google Maps, the location is approximately 3.1 or 3.4 miles,

depending on the route, to the scene of the explosion incident.

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16. I conducted a query of criminal history convictions for STARKEY and found

the following:
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a. Tulsa County, OK Case #CF-2018-4927
e Offense: Assault and Battery - Domestic (2™ Offense)
e Sentence: Six (6) Years —- Department of Corrections
b. Tula County, OK Case #CF-2018-981
e Offenses: Domestic Assault and Battery with a Dangerous
Weapon, Arson — 4" Degree, Domestic Assault with a
Dangerous Weapon, Arson — 4 Degree
e Sentence: Four (4) Years - Department of Corrections
17.On June 18, 2024, I emailed photographs of post-blast debris items recovered
from the explosive scene to ATF Explosives Enforcement Officer (EEO) Gary
Smith. EEO Smith provided a preliminary device determination, pending physical
examination, indicating both items appeared to be improvised explosive bombs
which are destructive devices defined in 18 U.S.C. 5845(f).
18.On June 18, 2024, I requested a query of the National Firearms Registration

and Transfer Record for any items registered with Patrick STARKEY. On June 20,
2024, I received a certified response from ATF Firearms and Explosives Specialist
Jesse Huff. The results included the following representation: “I further certify that,
after diligent search of the said Record, I found no evidence that the firearm or
firearms described below are registered to, or have been acquired by lawful
manufacture, importation, or making by, or transfer to PATRICK STARKEY. I

further certify that I have custody and control of approved applications to transfer
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and register firearms within the purview of Chapter 53, Title 26 U.S.C., and that
after a diligent search of such applications I found no approved applications from
PATRICK STARKEY to transfer and register said firearms to any person as
required by Sections 5811 and 5812, Chapter 53, Title 26 U.S.C.”

19.On June 25, 2024, I queried the Flock Safety license plate reader database for
Patrick STARKEY’s 2002 Honda Civic (OK/ETY237). I specifically looked for
reads around the time of incidents at 6711 North 41st West Avenue, Tulsa,
Oklahoma, including:

a. June 9, 2024, at approximately 12:30am (First Explosive Incident)
b. June 12, 2024, at approximately 8:45pm (Second Explosive Incident)
c. June 13, 2024, between 12:00pm and 2:00pm (Notes Left in Driveway)

20.1 observed a license plate read from June 9, 2024, at 12:18am —
(36.230754748250845, -96.02205873475232). According to Google Maps, this
location is approximately 2.1 miles and/or a four (4) minute drive to the incident
location.

21.1 observed a license plate read from June 12, 2024, at 8:35pm —
(36.23812060796866, -96.055423229869). According to Google Maps, this location
is approximately 2.6 miles and/or five (5) minutes, or 3.7 miles and/or six (6)
minute drive from the incident address, depending on route of travel.

22.1 observed a license plate read from June 13, 2024, at 11:37am —
(36.230754748250845, -96.02205873475232). According to Google Maps, this

location is approximately 2.1 miles and/or a four (4) minute drive to the incident

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location. On June 13, 2024, at 11:55am, the vehicle’s license plate was read at
(36.22043018823068, -95.99239339590773) which is near 212 East 46th Street
North, Tulsa, Oklahoma. The location is 2.4 miles and/or five (5) minutes away
from the previous license plate hit.
23.License plate reads for the 2002 Honda Civic (OK/ETY237) near the incident

address included the following dates/times:

a. June 9, 2024 @ 12:18am

b. June 11, 2024 @ 2:04am

c. June 11, 2024 @ 2:07pm

d. June 12, 2024 @ 8:35pm

e. June 14, 2024 @ 11:37am

f. June 16, 2024 @ 5:30am

g. June 16, 2024 @ 6:22pm

h. June 17, 2024 @ 7:48pm

i. June 17, 2024 @ 7:58pm

j. June 18, 2024 @ 1:28pm

k. June 19, 2024 @ 7:36pm

l. June 19, 2024 @ 7:47pm

24. During the course of the investigation, I learned that STARKEY resided at

5928 W. 8" Street, Tulsa, Oklahoma 74127. B.A.’s residence is approximately 10.3
miles north of STARKEY’s, located in a rural community with no immediate

commercial stores surrounding it. Search results for FLOCK Safety license plate

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readers show the first “hit” in the area of B.A.’s residence on June 9, 2024, at
approximately 12:18am. Several “hits” were recorded following June 9, 2024, and no
hits were discovered in the immediate period preceding June 9, 2024.

25.On June 25, 2024, I reviewed a public Facebook page (URL:
https://www.facebook.com/GR8NBED69; Account #1000649859496 18) for
Patrick STARKEY. STARKEY listed his nicknames as “Rat Tat Tat Pat”,
“GR8NBED”, and “Cockhound." Content included references to S.P. Multiple posts
were similar to the handwritten notes found in the driveway of the victim’s residence
on June 13, 2024.

26.A post from June 13, 2024, at 1:42pm stated, “It’s not like Shelly Pearce, ALL
THIS IS TRUE. Everyone INCLUDING HIV, hep C Shelly Dawn Pearce, 918-852-
8644 @ 3793 West 70th PI.N. Tulsa Oklahaoma 74126”. This post appeared to have
been edited or altered by Starkey. I previously observed this public post on Starkey's
Facebook page; however, at that time the address was “6591 N. 40th West Ave.
Tulsa Oklahoma 74126." When the page was revisited, it contained the new address.
Based upon my training and experience, I know that Facebook allows users to
modify previous posts with no change in date and time.

27.A post from May 24, 2024 stated, “Yep, it's true, not only that but I'm afraid
she is now HIV+, she knows how just ask Shelly Dawn Pearce, off hwy. 75 and 96th
Street, Stop by and while you're at it maybe you can talk some sense into her letting

her know the sensible way would be to give me my stuff back and move on.”

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28.A post from May 27, 2020, stated, “Wife died”. Another account named,
“Paul Pugh” commented, “Did she really die? Did you kill her?”. STARKEY
replied, “My wife or soon to be ex, is dead to me after 17yrs of mental abuse, I had
enough, if she was on fire, I would not even piss on her to put fire out. Skank”.

29.The profile photograph, posted May 17, 2024, included STARKEY possessing
what appeared to be a Hi Point brand firearm. The same photograph was also posted
on November 11, 2023. The photograph appeared to have been taken in a bedroom.
There were several additional photographs posted which appeared be to from the

same room. The photographs were posted from October 9, 2022, to May 25, 2024.

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Posted: May 17, 2024 Posted: May 25, 202
Note: Similar wall paneling and wall décor, including
Budweiser sign

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eptember 8, 2022

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Posted: January 23, 2024
Note: Appears to be similar wall paneling

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Posted: January 28, 2023 ~~ Posted: October 9, 202
Note: Appears to be similar wall paneling Note: Appears to be similar wall paneling

30.A photograph posted May 28, 2024, included STARKEY standing in front of

the 2002 Honda Civic (OK/ETY237).

31.ATF agents conducted surveillance at 5928 West 8th Street, Tulsa, Oklahoma,
over the course of several days, beginning on June 18, 2024. The 2002 Honda Civic

(OK/ETY237) has been observed at the residence on multiple days. On June 24,

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2024, at approximately 7:00pm, RAC Keen observed STARKEY in the front yard,
spraying water on the driveway. 5928 West 8th Street, Tulsa, Oklahoma is listed on
the Oklahoma vehicle registration for the 2002 Honda Civic (OK/ETY237) as well
as STARKEY’s Oklahoma driver’s license. Oklahoma Human Services Special
Agent in Charge Gerald Olson indicated Patrick STARKEY listed 5928 West 8th
Street, Tulsa, Oklahoma as his residence.

32.On July 1, 2024, I applied for federal search warrants for Patrick STARKEY’s
residence located at 5928 West 8th Street, Tulsa, Oklahoma and STARKEY’s
vehicle, a 2002 Honda Civic (VIN: 1HGES15552L026865). The search warrants
(#24-MJ-442-JFJ & #24-MJ-443-JFJ) were issued by United States Magistrate Judge
Jodi Jayne in the Northern District of Oklahoma on the same day.

33.On July 2, 2024, at approximately 6:05am, ATF agents, along with law
enforcement personnel from Tulsa Police Department, Oklahoma Highway Patrol,
and United States Postal Service, executed the search warrants at Starkey's residence.
The target vehicle was also parked on the property at that time. Patrick STARKEY
was present and the lone occupant of the residence. STARKEY was detained
without incident.

34. A search of the residence resulted in the discovery and seizure of the following
items:

a. Three (3) Explosive Devices — Master Bedroom (Dresser)
b. Cell Phone — Master Bedroom

c. Suspected Homemade Cannon — Master Bedroom (Dresser)

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d. Suspected Homemade Cannon — Master Bedroom (TV Stand)
e. Approximately Forty-One (41) Rounds of .40 S&W Ammunition —
Master Bedroom
f. Three (3) Suspected Explosive Devices — Master Bedroom (Crown Royal
Bag)
g. Two (2) Suspected Explosive Devices — Master Bedroom (Green Crown
Royal Bag)
35. observed a note in STARKEY’s bedroom which stated “6591 N 40th West
Ave, Tulsa Okla 74126 Ronnie’s Place”.
36.The suspected explosive devices were rendered safe by members of the
Oklahoma Highway Patrol Bomb Squad, including ATF Task Force Officer David
Couch, and ATF Certified Explosives Specialist Jon Butler. CES Butler obtained
photographs for seven of the eight devices. CES Butler indicated at least two (2) of
the devices contained nail pieces and/or screws. The photographs below were

obtained after the devices were rendered safe.

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37.8/A Holley Edwards, an Interstate Nexus Expert, viewed the .40 S&W
ammunition. S/A Edwards stated the ammunition was not manufactured the State
of Oklahoma, therefore, had travelled in and affected interstate commerce.

38. Upon completion of the search, I left copies of the two search warrants and a
property receipt with STARKEY.

39.On July 2, 2024, I emailed the photographs of the suspected explosive devices
pictured above to ATF Explosive Enforcement Officer (EEO) Gary Smith. EEO
Smith provided a response indicating, “SA Nechiporenko, the items in these images
are consistent with remains of two improvised explosive weapons which have been
rendered safe by bomb squad actions. Pending final physical examination and
laboratory analysis report, it is my opinion that the items shown in these images
would be properly identified as improvised explosive bombs. Explosive bombs are
destructive devices as that term is defined in 18 U.S.C. 5845(f) and would be
regulated in accordance with the Federal Firearms Regulations.”

40. Following execution of the warrants, S/A Estrada and I conducted an
interview with STARKEY. After waiving his Miranda rights, STARKEY admitted
that he and S.P. were married and are in the process of divorcing. He admitted that
he believed S.P. was staying with her brother, Ronnie Jones, somewhere around 46"
Street and 70 Place North. He admitted that he placed and detonated two (2)
explosive devices in the area of 6591 N. 40th West Ave, Tulsa, Oklahoma, one on
the ground in the driveway and one in the mailbox. He admitted, further, that the

devices were initiated by using a flammable fuse and that he had manufactured them

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at his residence using PVC pipe, cannon fuse, and black powder. STARKEY
detonated the devices and then placed the notes about S.P. around the mailbox in an
effort to get S.P. to speak with him. While STARKEY admitted to possessing the
firearm observed in his Facebook post, he advised that it, and the ammunition,
belonged to a former roommate and that the picture was taken in Turley, Oklahoma.
STARKEY conceded that he was previously incarcerated for two (2) years following
a felony domestic assault conviction.

CONCLUSION

Based on the information set forth in this affidavit, I submit there is probable
cause to believe that Patrick STARKEY violated Title 26 U.S.C. §§ 5861(d) —
Receive/Possess National Firearms Act Firearm Not Registered in National
Firearms Registration and Transfer Record, Title 18 U.S.C. §§ 844(h)(1) - Using Fire
or Explosive to Commit a Federal Felony, Title 18 U.S.C. §§ 1705 — Destruction of
Letter Boxes or Mail, and Title 18 U.S.C. §§ 922(g)(1) — Possession of a
Firearm/Ammunition by Convicted Felon, and request that an arrest warrant be
issued for Patrick Nile STARKEY (DOB: 07/14/1967; SSN: XXX-XX-XXXX; FBI
#418151EA9) AKA “Rat Tat Tat Pat”, AKA “GR8&NBED”, and AKA
“Cockhound”.

Respectfully submitted,

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Ben Necht orgnkO
Special Agent

Bureau of Alcohol, Tobacco, Firearms &
Explosives

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Subscribed and sworn via phone on the 2™ day of July 2024.

HON.4ODI F. JAYNE
UNITED STATES MAGISTRATE JUDGE

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